  8:13-cr-00317-LSC-TDT            Doc # 47   Filed: 01/06/14    Page 1 of 1 - Page ID # 91




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )                 8:13CR317
       vs.                                      )
                                                )                   ORDER
                                                )
OTTO R. ROWELL,                                 )
LOWELL ELDON FANNING,                           )
                                                )
                      Defendants.


      This matter is before the court is defendant Otto R. Rowell’s motion to continue trial [46]
as counsel needs additional time to prepare for trial. The court finds good cause being shown
and the trial shall be continued. The defendant shall comply with NECrimR 12.1(a).

       IT IS ORDERED that the motions to continue trial is granted, as follows:

     1. The jury trial for all defendants now set for January 14, 2014 is continued to
February 11, 2014.

       2. Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of justice
will be served by granting this continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between today’s date and February 11, 2014, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act.
Failure to grant a continuance would deny counsel for the defendant the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED January 6, 2014.

                                              BY THE COURT:

                                              s/ F.A. Gossett
                                              United States Magistrate Judge
